        Case 3:10-cv-01355-PK    Document 32     Filed 04/06/11   Page 1 of 2


                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                          FOR THE NINTH CIRCUIT
                                                                      APR 06 2011
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




LAWRENCE BEAUMONT,                             No. 11-35091

            Plaintiff - Appellant,
                                               D.C. No. 3:10-cv-01355-PK
 v.                                            U.S. District Court for Oregon,
                                               Portland
GOVERNMENT OF THE CITY OF
EDGEWOOD; et al.,                              MANDATE

            Defendants - Appellees.


      The judgment of this Court, entered March 15, 2011, takes effect this date.

      This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:
                                                Molly C. Dwyer
                                                Clerk of Court

                                                Lee-Ann Collins
                                                Deputy Clerk
            Case 3:10-cv-01355-PK     Document 32   Filed 04/06/11   Page 2 of 2

                                                                              FILED
                       UNITED STATES COURT OF APPEALS                          MAR 15 2011

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                               FOR THE NINTH CIRCUIT                        U .S. C O U R T OF APPE ALS




 LAWRENCE BEAUMONT,                                 No. 11-35091

                 Plaintiff - Appellant,             D.C. No. 3:10-cv-01355-PK
                                                    District of Oregon,
   v.                                               Portland

 GOVERNMENT OF THE CITY OF
 EDGEWOOD; et al.,                                  ORDER

                 Defendants - Appellees.



Before: LEAVY, TASHIMA, and BYBEE, Circuit Judges.

        A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the order challenged in the appeal is not final or appealable.

See 28 U.S.C. § 1291; Wilborn v. Escalderon, 789 F.2d 1328 (9th Cir. 1986)

(denial of appointment of counsel in civil case is not appealable); see also In re

San Vicente Med. Partners Ltd., 865 F.2d 1128, 1131 (9th Cir. 1989) (order)

(magistrate judge order not final or appealable). Consequently, this appeal is

dismissed for lack of jurisdiction.




SM/Pro Se
